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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

 B.P.J, by her next friend and mother,
 HEATHER JACKSON
                                        Plaintiff,
       v.
                                                         Case No. 2:21-cv-00316
 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY BOARD
 OF      EDUCATION,      WEST       VIRGINIA            Hon. Joseph R. Goodwin
 SECONDARY         SCHOOL        ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent,            Oral Argument Requested
 DORA STUTLER in her official capacity as
 Harrison County Superintendent, PATRICK
 MORRISEY in his official capacity as Attorney
 General, and THE STATE OF WEST
 VIRGINIA
                                     Defendants.

                            MOTION TO INTERVENE
   Under Federal Rule of Civil Procedure 24(a) and (b), Lainey Armistead hereby

moves this Court to authorize her intervention as a party to this case. In conformity

with Local Rule 7.1(a), a memorandum of law accompanies this motion. Defendants

State of West Virginia and Attorney General Morrisey consent to this motion.
Defendants Harrison County Board of Education and Superintendent Stutler did not

respond. All other Defendants do not object to Armistead’s intervention motion. The

Plaintiff opposes the motion.

   As the memorandum explains, Armistead satisfies the requirements for

intervention as of right under Rule 24(a). Her motion is timely, she has a significantly

protectible interest in the subject matter of this case, the outcome of the case may

impair her interest, and her interest will not be adequately represented by the named
parties.



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   Armistead also satisfies the criteria for permissive intervention under Rule 24(b).

Her filing is timely, her participation will cause no undue delay or prejudice to the

original parties, and her legal position “shares with the main action a common

question of law or fact.” Fed. R. Civ. P. 24(b)(1).

   Respectfully submitted this 10th day of September, 2021.

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                                           forthcoming

                                           Attorneys for Proposed Intervenor




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

B.P.J, by her next friend and mother,
HEATHER JACKSON
                                       Plaintiff,
       v.
WEST VIRGINIA STATE BOARD OF
EDUCATION, HARRISON COUNTY BOARD                         Case No. 2:21-cv-00316
OF      EDUCATION,      WEST       VIRGINIA
SECONDARY         SCHOOL        ACTIVITIES
COMMISSION, W. CLAYTON BURCH in his                     Hon. Joseph R. Goodwin
official capacity as State Superintendent,
DORA STUTLER in her official capacity as
Harrison County Superintendent, PATRICK
MORRISEY in his official capacity as Attorney
General, and THE STATE OF WEST
VIRGINIA
                                   Defendants.



                            CERTIFICATE OF SERVICE
      I, Brandon Steele, hereby certify that on September 10, 2021, I electronically

filed a true and exact copy of this Motion to Intervene with the Clerk of Court and

all parties using the CM/ECF system.



                                              /s/ Brandon S. Steele
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